                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 In re: Markel Behel & Melanie Behel dba        )           Case No.: 18-81697-12
        Behel Farms                             )
        EIN: xx-xxx6971                         )
                                                )
               Debtor.                          )           CHAPTER 12


            FIRST MOTION FOR APPROVAL OF INTERIM PROFESSIONAL FEES
             AND EXPENSES FOR CHAPTER 12 DEBTORS’ ATTORNEYS

        COME NOW the Debtors in the above styled Chapter 12 case, and shows the Court as
 follows:

                                     General Background

        1.    On June 8, 2018 (the "Commencement Date"), the Debtors commenced with this
 Court a voluntary case under Chapter 12 of Title 11, United States Code (the "Bankruptcy
 Code").

        2.      On July 12, 2018, this Court approved the employment of Sparkman, Shepard &
 Morris, P.C. as Debtors’ counsel. That day, this Court also entered an Order approving the
 Debtors Motion to allow its attorneys to send monthly notices of attorney’s fees and expenses
 incurred (the “Monthly Fee Notices”) to the Debtors 20 largest unsecured creditors, all parties
 requesting notice, any committees appointed in this matter, the Bankruptcy Administrator (the
 “Notice Parties”).

        3.      This Court’s order of July 12, 2018 also orders the Debtors’ counsel to file with
 the Court, beginning on October 1, 2018, and serve upon the Notice Parties not more than once
 every 90 days an interim application for allowance of compensation and reimbursement of
 expenses, pursuant to 11 U.S.C. §331, of the amounts sought in the Monthly Fee Notices filed
 during such period (the “Interim Fee Application”). The Interim Fee Application must include a
 summary of the Monthly Fee Notices that are the subject of the request and any other
 information requested by the Court or required by the Local Rules.

                                        Relief Requested

        4.    The said professionals currently employed by the Debtors have previously served
 Monthly Fee Notices for the months of June, July and August 2018, with balances due on each
 as shown below:




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 June 2018             Compensation: $1,785.00 (80% paid) / Expenses: $39.56 (100% paid)
                       Total: $1,824.56
                       Date of Notice: July 13, 2018
                       Amount of fees held in trust pending Court approval: $0.00

 July 2018             Compensation: $2,126.50 (80% paid) / Expenses: $19.77 (100% paid)
                       Total: $2,146.27
                       Date of Notice: August 6, 2018
                       Amount of fees held in trust pending Court approval: $0.00

 August 2018           Compensation: $1,954.00 (66% paid) / Expenses: $13.32 (100% paid)
                       Total: $1,967.32
                       Date of Notice: September 5, 2018
                       Amount of fees held in trust pending Court approval: $0.00

       5.      No agreement exists between the attorney and any other person or entity
 whatsoever for the sharing of compensation or expenses in this case.

       6.     This application is brought under the provisions of Sections 327, 328, 330, 331 of
 the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
 Procedure.

        WHEREFORE, the Debtors request that the Court:

        1.     Schedule a hearing on the attorneys’ requested compensation and expenses;

        2.     Enter an Order approving such compensation and expenses and authorizing the
               Debtors to pay same; and

        3.     Grant other and further relief as the Court deems just and proper.


        Respectfully submitted this the 1st day of October, 2018.

                                          /s/ Tazewell T. Shepard
                                          Tazewell T. Shepard III
                                          Tazewell T. Shepard IV
                                          Attorneys to Debtors

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                                          Huntsville, AL 35804
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                                 CERTIFICATE OF SERVICE

         This is to certify that I have this 1st day of October, 2018 served the foregoing document
 upon the Debtor’s 20 largest unsecured creditors, all persons requesting notice and the following
 listed persons by electronic service through the Court’s CM/ECF system and/or by depositing
 said copies in the United States Mail in properly addressed envelopes with adequate postage
 thereon:

        Richard Blythe, Esq.
        Office of the Bankruptcy Administrator
        P. O. Box 3045
        Decatur, AL 35602

                                          /s/ Tazewell T. Shepard
                                          Tazewell T. Shepard




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